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                   Eugene M. Sibick, D.D.S., CAPT(Ret), USN
                                       34 Wik Street
                                  Williamsville, NY 14221
                                       716-472-4246


October 15, 2021


To Whom It May Concern,

This is to inform you that as Thomas Sibick’s father, I can assure you that upon his release he
will be able to reside at my house under whatever conditions the court may impose upon him.

Let it further be known that along with myself, my wife Carol, guarantee that Thomas will have
supervision 24 hours a day, seven days a week. If Thomas were to attempt to leave the premises,
I would not hesitate to inform the appropriate authorities immediately.

Furthermore, arrangements have been made with other individuals who would come to my house
and assure that Thomas does not violate any condition of his release. Including any attempt to
leave the premises upon which authorities would be notified.

I can honestly state that Thomas would not do anything to jeopardize his freedom from the
confines of the D.C. Jail and who knows him better than I, his father.


Respectfully,

Eugene M. Sibick
